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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                            )
                                                          )
 9                          Plaintiff,                    )
                                                          )
10           v.                                           )        2:10-CR-361-LDG (RJJ)
                                                          )
11   OSCAR NOE SANCHEZ-LARIOS,                            )
                                                          )
12                          Defendant.                    )

13                             PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that on October 6, 2010, defendant OSCAR NOE SANCHEZ-LARIOS pled

15   guilty to Count One of a Five-Count Criminal Indictment charging him with Conspiracy to Distribute

16   a Controlled Substance, in violation of Title 21, United States Code, Sections 841(a)(1),

17   (b)(1)(A)(viii), (b)(1)(B)(ii), (b)(1)(B)(I), and 846.

18           This Court finds defendant OSCAR NOE SANCHEZ-LARIOS agreed to the forfeiture of

19   property set forth in Forfeiture Allegations of the Criminal Indictment and the Bill of Particulars for

20   Forfeiture of Property.

21           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

22   America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the

23   Criminal Indictment and the Bill of Particulars for Forfeiture of Property and the offense to which

24   defendant OSCAR NOE SANCHEZ-LARIOS pled guilty.

25           The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

26   924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section 2461(c); Title 21, United
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 1   States Code, Section 881(a)(11) and Title 28, United States Code, Section 2461(c); Title 21, Unit-ed
 2   States Code, Section 853(a)(1) and (a)(2):
 3                   a)    $3,269.32 in United States Currency seized from Wells Fargo Bank Expanded
 4                         Business Services Account Number 5129131933, in the name of C.R.E.C.
 5                         Investments, LLC, located at 3300 W. Sahara Ave., Las Vegas, NV 89102;
 6                   b)    $58,513.96 in United States Currency seized from Wells Fargo Bank Business
 7                         High Yield Savings Account Number 1253406126 in the name of C.R.E.C.
 8                         Investments and Diocelina Pantoja-Cruz, LLC, located at 3300 W. Sahara
 9                         Ave., Las Vegas, NV 89102;
10                   c)    $4,541.00 in United States Currency seized from Rolando Hernandez;
11                   d)    a Smith and Wesson M&P 15 .227 caliber assault rifle, serial number 31252;
12                   e)    a 9 mm Ruger handgun, model P95, serial number 316-52236;
13                   f)    a Berreta .32 auto caliber handgun, serial number DAA397172;
14                   g)    an Echasa .22 caliber handgun, serial number 63817;
15                   h)    a gold-plated Desert Eagle .41/.44 caliber magnum handgun, serial number
16                         55592; and
17                   I.    any and all ammunition.
18           This Court finds the United States of America is now entitled to, and should, reduce the
19   aforementioned property to the possession of the United States of America.
20           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
21   United States of America should seize the aforementioned property.
22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
23   OSCAR NOE SANCHEZ-LARIOS in the aforementioned property is forfeited and is vested in the
24   United States of America and shall be safely held by the United States of America until further order
25   of the Court.
26   ...

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 1           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
 2   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
 3   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
 4   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
 5   the name and contact information for the government attorney to be served with the petition, pursuant
 6   to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
 7           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
 8   with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
 9           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
10   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
11   following address at the time of filing:
12                  Daniel D. Hollingsworth
                    Assistant United States Attorney
13                  Michael A. Humphreys
                    Assistant United States Attorney
14                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
15                  Las Vegas, Nevada 89101.
16           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
17   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
18   following publication of notice of seizure and intent to administratively forfeit the above-described
19   property.
20           DATED this ______ day of __________________, 2010.
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24                                                  UNITED STATES DISTRICT JUDGE
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